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IN THE UNITED STATES DISTRICT COURT FILED TE

FOR THE WESTERN DISTRICT OF NORTH CAROLINA ASHEVILLE, NC
Civil Action No. 1:21-cv-305-MR-WCM

Dali APR 03 2024
BROTHER T. HESED-EL, ) Hand-Delivered
) U.S. DISTRICT COURT
Plaintiff W. DISTRICT OF N.C.
y arn MOTION TO STRIKE TREATING
, PHYSICIAN EXPERT WITNESSES
ROBIN BRYSON, et al., )
)
Defendants. }

COMES NOW, Plaintiff Brother T. Hesed-El (“Plaintiff”) pursuant to Daubert v. Merrell
Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993), and respectfully moves the Court to strike
Defendants’ treating physician expert witnesses. Pursuant to Local Rule 7.1, Plaintiff conferred
with Defendants’ counsel and attempted in good faith to resolve this area of disagreement. Despite

Plaintiff's efforts, Defendants’ counsel has indicated opposition to this motion.
WHEREFORE, Plaintiff prays that this motion be granted.

Respectfully, this 24" day of Ramadan in the year 1445 A.H.

GYLiak

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Bro. T. Hesea=£1, Plaintiff pro se
c/o TAQI EL AGABEY MANAGEMENT
30 N Gould St, Ste. R, Sheridan, WY 82801

Ph: (762) 333-2075 / teamwork3@gmail.com

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CERTIFICATE OF SERVICE

This certifies that a true and correct copy of MOTION TO STRIKE TREATING
PHYSICIAN EXPERT WITNESSES has been sealed in an envelope with sufficient postage
affixed thereon, and deposited into the exclusive custody of the United States Post Office, to ensure
delivery to:

Robin Bryson and Mission Hospital Inc.
% Attorney Daniel H. Walsh
ROBERTS & STEVENS, P.A.

Post Office Box 7647

Asheville, North Carolina 28802
dwaish@roberts-stevens.com

This 34 day of April in the year 2024 of the Gregorian calendar.

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